Case 2:09-cr-00116-SMJ   ECF No. 164   filed 11/14/11   PageID.728 Page 1 of 6
Case 2:09-cr-00116-SMJ   ECF No. 164   filed 11/14/11   PageID.729 Page 2 of 6
Case 2:09-cr-00116-SMJ   ECF No. 164   filed 11/14/11   PageID.730 Page 3 of 6
Case 2:09-cr-00116-SMJ   ECF No. 164   filed 11/14/11   PageID.731 Page 4 of 6
Case 2:09-cr-00116-SMJ   ECF No. 164   filed 11/14/11   PageID.732 Page 5 of 6
Case 2:09-cr-00116-SMJ   ECF No. 164   filed 11/14/11   PageID.733 Page 6 of 6
